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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    JOHN MAHONEY                                   :           CIVIL ACTION
                                                   :
      v.                                           :           No. 20-4249
                                                   :
    PREMIER GROUP INSURANCE, LLC.                  :
                                                   :

                                              ORDER

           AND NOW, this 5th of January, 2022, the Court having directed Plaintiff John

Mahoney in its January 14, 2021 Order to either (a) submit proof of service demonstrating

Defendant Premier Group Insurance, LLC has been served with a summons and complaint in this

case or (b) show cause in writing why this action should not be dismissed without prejudice, and

John Mahoney having failed to respond to said Order, it is hereby ORDERED the above-captioned

case is DISMISSED without prejudice for failure to serve.1

           The Clerk of Court is directed to mark this case CLOSED.


                                                       BY THE COURT:

                                                       ___/s/ Juan R. Sanchez_
                                                        Juan R. Sánchez, C.J.



1
  Plaintiff John Mahoney commenced this action on August 28, 2020 against Defendant Premier
Group Insurance LLC. A summons was issued to Premier Group on August 31, 2020, but
Mahoney did not submit proof of service to the court.
        In January 2021, the Court ordered Mahoney to submit proof of service for Premier Group
or show cause why this action should not be dismissed without prejudice pursuant to Federal Rule
of Civil Procedure 4(m). See Order, Jan. 14, 2021, ECF No. 2.
        To date, Mahoney has not submitted any notice to the Court in compliance with the Order.
        Under Rule 4(m), “[i]f a defendant is not served within 90 days after the complaint is filed,
the court—on motion or on its own after notice to the plaintiff—must dismiss the action without
prejudice against that defendant or order that service be made within a specified time.” Plaintiff
filed the complaint in this action on August 28, 2020. Although the 90-day period in which to serve
Defendants expired on November 27, 2020, Plaintiff has not yet made proof of service to the Court,
as required by Rule 4(l), and despite being given notice in the January 14, 2021 Order.
